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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 STATE FARM FIRE & CASUALTY                      )
 COMPANY,                                        )
      Plaintiff,                                 )
                                                 )
 v.                                              )           Cause No.:     4:25-CV-00729
                                                 )
 SEAN PATRICK DOUGHERTY,                         )           JURY TRIAL DEMANDED
   Serve: 2578 Coppergate Square Dr.             )
   Apt.K                                         )
   St. Louis, MO 63129                           )
                                                 )
                                                 )
 AMBER DAVIS,                                    )
   Serve: 5359 Camelot Estates Drive             )
          St. Louis, MO 63129                    )


        Defendants.


                      COMPLAINT FOR DECLARATORY JUDGMENT

       COMES NOW State Farm Fire & Casualty Company (“State Farm”), by and through its

undersigned counsel, and for its Complaint for Declaratory Judgment, states as follows:

       1.      State Farm brings this action seeking the interpretation of certain insurance policies

and a declaration of its rights and obligations thereunder, concerning claims asserted against its

insured Sean Patrick Dougherty by Amber Davis arising out of incidents that allegedly occurred

from 2015 to 2023.

                          PARTIES, JURISDICTION, AND VENUE

       2.      Plaintiff State Farm is and was at all times mentioned herein a corporation

incorporated under the laws of the State of Illinois with its principal place of business in the State




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of Illinois, and therefore a citizen of the State of Illinois, engaged in the business of insurance and

licensed to transact that business in the State of Missouri.

         3.    Plaintiff State Farm issued the policies that are the subject of this declaratory

judgment action.

         4.    Upon information and belief, Defendant Sean Patrick Dougherty (hereinafter

“Defendant Dougherty”) is an individual domiciled in the State of Florida and, therefore, a citizen

of Florida.

         5.    Upon information and belief, Defendant Amber Davis (hereinafter “Defendant

Davis”) is an individual domiciled in the State of Missouri and, therefore, a citizen of Missouri.

         6.    This case and controversy involve citizens of different states.

         7.    The insurance policies at issue in this matter each have a liability limit of $300,000

per occurrence.

         8.    Based on the allegations in the underlying claim (but without making any admission

as to the merits thereof), the amount in controversy exceeds $75,000 exclusive of interest and

costs.

         9.    The United States District Court has jurisdiction in this matter pursuant to 28 U.S.C.

§ 1332(a)(1) because the amount in controversy exceeds the sum of Seventy-Five Thousand

Dollars ($75,000.00) exclusive of interest and costs and because complete diversity of citizenship

exists between Plaintiff and Defendants.

         10.   Venue is proper in the United States District Court for the District of Missouri under

28 U.S.C. § 1391(a) because a substantial amount of the events and occurrences giving rise to this

action occurred in this District in that all Defendants are citizens of Missouri; the Policies upon

which this action is premised were entered into in Missouri; the dispute involves injury that was



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inflicted in St. Louis County, Missouri; and Missouri law applies to the interpretation of the

Policies and the parties’ rights and duties thereunder.

       11.       This Court “may declare the rights and other legal relations of any interested parties

seeking such declaration” pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201(a) with

respect to the policy of insurance issued by State Farm, and all above referenced parties are

interested parties with respect to the determination of rights pursuant to the insurance policy issued

by State Farm.

       12.       An actual justiciable controversy exists between Plaintiff and Defendant

Dougherty. In particular,

                    a. Defendant Davis has sued Defendant Dougherty in a state court lawsuit, as

                        set out in more detail below.

                    b. Defendant Dougherty tendered the original petition in the state court lawsuit

                        to Plaintiff, who initially disclaimed coverage for the allegations therein.

                        Thereafter, an amended petition was filed in the state court lawsuit in

                        October 2024, which Defendant Dougherty tendered to Plaintiff on January

                        2, 2025.

                    c. After receiving the amended petition, State Farm undertook Defendant

                        Dougherty’s defense in the lawsuit under a reservation of rights and notified

                        him of the same through correspondence dated January 22, 2025.

                    d. Plaintiff disputes that it owes any duty to defend or indemnify Defendant

                        Dougherty in that lawsuit or any judgment resulting therefrom. Thus, an

                        actual controversy exists between Plaintiff and Dougherty.




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         13.     Furthermore, an actual controversy exists between Plaintiff and Defendant Davis.

In particular:

                      e. Davis is seeking a judgment against Dougherty in the underlying action.

                      f. MO. REV. STAT. 379.200 authorizes a judgment creditor the right to proceed

                          against an insurer if the insured fails to satisfy a final judgment within 30

                          days after the judgment.

                      g. In addition, Plaintiff disputes that it owes any duty to indemnify any such

                          judgment based on the applicable insurance policy, as set forth below.

                          Thus, an actual controversy exists between Plaintiff and Defendant Davis.

         14.     Litigation as to this controversy is imminent and inevitable, and the resolution of

the matters raised in this declaratory judgment action will dispose of the issues and disputes

between the parties.

         15.     All necessary and proper parties are before the Court for the matters in controversy.

         16.     State Farm has no other adequate remedy at law.

                    FACTUAL ALLEGATIONS OF UNDERLYING CLAIM

         17.     On October 18, 2024, Defendant Amber Davis filed an amended petition entitled

“Second Amended Petition”1 in the Circuit Court of St. Louis County, Missouri (“Underlying

Petition”). A copy of the Underlying Petition is attached hereto as Exhibit A.

         18.     The Underlying Petition names Defendant Sean Patrick Dougherty as the sole

defendant.




1
  Although the operative Underlying Petition is styled “Second Amended Petition,” it is the only amended petition
filed thus far in the underlying state court action.

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       19.       The Underlying Petition alleges that from late 2015 through May 2023, Dougherty

engaged in a pattern of “romance fraud,” managing to extract over $300,000 from Davis, using

fraudulent misrepresentations and violent coercion.

       20.       The Underlying Petition alleges that throughout their romantic relationship carried

on from 2015 to 2023, Dougherty repeatedly convinced or coerced Davis to spend or lend him

money by, among other things, promises that they would get married, angry and physically violent

outbursts, verbal abuse, and threats of suicide or of harm to Davis or her family.

       21.       Eventually, the Underlying Petition alleges, Defendant Dougherty abandoned his

relationship with Davis and moved to Florida without repaying her.

       22.       The first cause of action alleged in the Underlying Petition against Defendant

Dougherty is for “Money Had and Received” in “Count 1”, in which Defendant Davis alleges

the following:

                    a. “Defendant received and obtained possession of Plaintiff's money,

                        including money from her bank accounts, credit accounts, personal

                        property, and money contributed to the purchase and improvement of real

                        property.”

                    b. “Defendant appreciated a benefit of the money received from Plaintiff in

                        that he retained and applied the funds received to accounts he controlled

                        and for the purchase of real and personal property.”

                    c. “Defendant retained the money received for his own benefit under unjust

                        circumstances.”




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                   d. “Pleadings alternatively or hypothetically pursuant to Mo. Rev. Stat.

                         509.110, Defendant was unjustly enriched by the funds received from

                         Plaintiff Davis.”

                   e. “As a result of the aforementioned, Plaintiff has suffered significant

                         damages, including the complete denial of control and access to funds

                         exceeding $300,000.00. Plaintiff has further suffered emotional distress as

                         a result of the funds being so unjustly retained.”

                   f. “Defendant intentionally hurt Plaintiff Davis by unjustly retaining the

                         funds.”

       23.     The second cause of action alleged in the Underlying Petition against Defendant

Dougherty is for “Fraudulent Misrepresentation” in “Count 2”, in which Defendant Davis

alleges the following:

                   a. “Defendant Dougherty, throughout the course of his relationship with

                         Plaintiff Davis and culminating in the May '23 statements, represented to

                         Plaintiff Davis that he would not take money from her credit or cash

                         accounts without her prior approval.”

                   b. “Defendant Dougherty repeated reaffirmance of this promise was material

                         to Plaintiff Davis continuing to allow access to Davis' funds.”

                   c. “Dougherty intended that Davis rely on the affirmations in continuing to

                         lend the money.”

                   d. “Plaintiff Davis was ignorant at all times of the falsity of the

                         representation.”




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                  e. “Plaintiff Davis relied upon Dougherty's representation when continuing to

                      allow such access.”

                  f. “Plaintiff Davis reliance upon the representation was reasonable in that

                      Dougherty      continued   and repeatedly     made    assurances   that   the

                      representation was to be relied upon.”

                  g. “As a result of Plaintiffs reliance on the above described representations,

                      Plaintiff Davis has suffered serious damages. Plaintiff Davis has lost

                      significant amounts of money, in addition to sustaining attorney's fees and

                      costs.”

                  h. “Defendant Dougherty intended to harm Plaintiff Davis.”

       24.    The third through tenth causes of action alleged in the Underlying Petition against

Defendant Dougherty are for “Assault and Battery” in “Counts 3–10”, in which Defendant

Davis alleges the following:

                  a. “Defendant Dougherty intended to cause harmful or offensive conduct, or

                      apprehension thereof, on at least the following occasions:

                          i. “December 2018: Defendant Dougherty violently threw items at

                                Plaintiff Davis; Defendant Dougherty screamed at Plaintiff Davis;

                                Defendant Dougherty shoved Plaintiff Davis.”

                         ii. “February 2020: Defendant Dougherty pushed Plaintiff Davis in the

                                chest a few weeks after Davis had major abdominal surgery.”

                         iii. “July 2020: Defendant Dougherty wielded a gun at Plaintiff Davis,

                                directing her to kill him while he killed her; Defendant Dougherty




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                         brandished said weapon at Plaintiff Davis, shooting randomly off of

                         his deck.”

                    iv. “July 2020: Defendant Dougherty attacked Plaintiff Davis, twice

                         throwing her down in the parking lot, causing serious injury.”

                     v. “August 2020: Defendant Dougherty grabbed Plaintiff Davis by the

                         head, screaming at her that he wanted to put his first through her

                         face and so badly wanted to hurt her.”

                    vi. “August 2022: Defendant Dougherty shook Plaintiff Davis, hitting

                         her head on the wall, and then threw her on the sofa, continuing to

                         violently shake and scream at her while kneeling over her.”

                    vii. “September 2022: Defendant Dougherty attempted to prevent

                         Plaintiff from leaving by first standing in front of the door. When he

                         allowed her to leave, Dougherty slammed the door on her hand,

                         leaving Davis' fingertips on the other side of the door. Dougherty

                         then locked the deadbolt. The flesh was torn open, exposing tendons

                         and underlying bone. One of the injured fingers was fractured.”

                   viii. “January 2023: Defendant Dougherty attacked Plaintiff Davis when

                         she came to his condo, charging her and throwing her against a wall,

                         causing her to fall to the ground.”

              b. “All of the above described assaults and/or batteries were intended to harm

                 Plaintiff Davis.”

              c. “As a result of the above described assaults, Plaintiff Davis has suffered

                 serious injury. Plaintiff Davis has suffered emotional distress and lost



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                     wages. Plaintiff Davis has suffered diminished earning capacity and

                     medical damages in the past, and will suffer the same in the future.”

       25.    The eleventh and final cause of action alleged in the Underlying Petition against

Defendant Dougherty is for “Negligent Infliction of Emotional Distress” in “Count 11”, in

which Defendant Davis alleges the following:

                 a. “Defendant Dougherty had a legal duty to protect the Plaintiff from injury.”

                 b. “Defendant Dougherty breached that duty.”

                 c. “Defendant Dougherty acted negligently in the following manners and

                     particulars and such further acts to be revealed in the course of discovery:

                         i. “June of '16 Defendant Dougherty became violently angry and

                            aggressive in front of Plaintiff Davis for the first time in their

                            relationship, screaming at Plaintiff Davis over his revoked license

                            until she complied with his demand to provide him rides. This

                            continued onward until 2024.”

                         ii. “Defendant Dougherty's related to Plaintiff Davis that he had a

                            violent boost [sic] in an AT&T store and attacked a customer after

                            becoming enraged with them.”

                        iii. “September of '16: Defendant Dougherty threatened that Plaintiff

                            Davis that he would physically hurt her and her mother.”

                        iv. “December '18: Defendant Dougherty kept Plaintiff Davis awake

                            for 36 hours straight and became angry after Plaintiff Davis refused

                            to spend further time with him.”




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                     v. “Defendant Dougherty continued to disrupt Plaintiff Davis' sleep

                          onward while she was working 3 different jobs for approximately

                          100 hours a week.”

                    vi. “October '19: Defendant Dougherty convinced Plaintiff Davis to

                          come paint his house even though she was supposed to be on bedrest

                          after her surgery.”

                   vii. “June '20: After getting intimate with Plaintiff Davis, Defendant

                          Dougherty told her that right before coming to her, he had been with

                          another woman. He threatened to go back on dating apps if Plaintiff

                          Davis did not comply with his demands.”

                   viii. “August '20: Defendant Dougherty continuously threatened to kill

                          himself when things would not go his way.”

                    ix. “Defendant Dougherty showed Plaintiff Davis his gun collection

                          and offered Plaintiff Davis a gun instructing that both of them

                          should commit suicide together.”

                     x. “Defendant Dougherty continuously spent large amounts of money

                          on personal items while using Plaintiff Davis' money, especially

                          during the time he would become angry with her.”

                    xi. “ '20: Defendant Dougherty expressed that he and Plaintiff Davis

                          would not get back together, a desire to kill himself, and proceeded

                          to tell Plaintiff Davis about a woman whom he would have a sexual

                          intercourse with the same night that Plaintiff Davis was spending




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                          time with her family and did not bring cake to Defendant

                          Dougherty.”

                   xii. “Defendant Dougherty continued to send Plaintiff Davis pictures of

                          different women he alluded to having sexual intercourse with for as

                          long as Plaintiff Davis refused to comply with his demands.”

                   xiii. “Defendant Dougherty promised to cheat on Plaintiff Davis.”

                   xiv. “Defendant Dougherty promised to kill Plaintiff Davis' mother.”

                    xv. “Defendant Dougherty disregarded Plaintiff Davis' health condition

                          during sexual intercourse. Defendant Dougherty would not let

                          Plaintiff Davis free until he reached his ‘satisfaction’, often leaving

                          Plaintiff Davis in tears, suffering through excruciating pain in her

                          abdominal and pelvic area. Often, Defendant Dougherty would get

                          angry at Plaintiff Davis during their intimacy.”

                   xvi. “Defendant Dougherty openly shared violent fantasies of killing

                          people and police officers with Davis.”

                  xvii. “December '22: Defendant Dougherty called Plaintiff Davis'

                          ‘retarded’ for not being able to write him a check before a couple

                          messages after he told her he ‘loved her’.”

                  xviii. “Defendant Dougherty called Plaintiff Davis on the phone, told her

                          he is going to kill himself, and proceeded to ignore her subsequent

                          calls and messages.”




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                   xix. “Defendant Dougherty used the ‘silent treatment’ continuously

                          throughout his relationship with Plaintiff Davis to punish her for

                          refusing to comply with his demands.”

                    xx. “Defendant Dougherty continuously reminded Plaintiff Davis that

                          she was not ‘submissive’ enough and that her current personality

                          was unattractive.”

                   xxi. “Defendant Dougherty forced Plaintiff Davis to watch videos of

                          reported violence and abuse toward women.”

                  xxii. “Defendant Dougherty often forgot Davis' birthday, and on one such

                          instance, he asked Davis to come cook him dinner.”

                  xxiii. “Defendant Dougherty fantasized about killing Plaintiff Davis'

                          mother even though Plaintiff Davis' mother has passed in December

                          of 2022.”

                  xxiv. “Defendant Dougherty told Plaintiff Davis that she was

                          embarrassing him when Plaintiff Davis hurried to find Defendant

                          Dougherty at a bar after he said he would ‘blow his head off’.”

                   xxv. “Defendant Dougherty purchased two sets of blue eye contacts for

                          Plaintiff Davis to wear because he hated her eye color. He also

                          contacted Plaintiff Davis' hairdresser, demanding to get her hair

                          dyed red so that she could look the way she wanted.”

                  xxvi. “Defendant Dougherty berated and repeatedly blamed Plaintiff

                          Davis for his arrest for domestic assault and Plaintiff Davis' care

                          about his well-being.”



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                 xxvii. “Defendant Dougherty blamed Plaintiff Davis for Defendant's

                          inability to have a job as a result of the aforementioned arrest.”

                 xxviii. “Defendant Dougherty blamed being in a relationship with Plaintiff

                          Davis as the source of his inability to hold assets and pay Plaintiff

                          Davis back over $100,000 of debt.”

                  xxix. “Defendant Dougherty in a conversation with his friend John,

                          memorialized in a voicemail Plaintiff Davis listened to,

                          hypothesized about her ability to kidnap and kill Defendant

                          Dougherty with a sedative, calling her a ‘nutcase’ and a ‘little girl’,

                          and laughing at her having a panic attack and being confused.”

                   xxx. “January '23: Defendant Dougherty berated Plaintiff Davis by text

                          messages over completion of documents, calling her a ‘stupid bitch’

                          and ‘cry baby’ while Plaintiff Davis repeatedly asked Defendant

                          Dougherty to stop messaging her.”

                  xxxi. “Defendant Dougherty threatened to ‘hang [himself] in [his] cell’

                          following his jail stay in Hillsboro.”

                 xxxii. “February '23: Defendant Dougherty became extremely furious over

                          text, stating that he ‘hated [his] life’ and that he was going to ‘have

                          a nervous breakdown and cry’ when Plaintiff Davis told him she

                          could not spend time with him because she had a family medical

                          emergency.”

                 xxxiii. “Defendant Dougherty made a myriad of derogatory remarks

                          through text messages at Plaintiff Davis, stating: ‘Quit being



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                          demanding’; ‘You're being controlling’; ‘Quit being combative that

                          is so unattractive’: ‘You didn't want to come today anyway you

                          fucking cunt’; ‘You're stupid fucking annoying bitch’; ‘You need

                          mood stabilizers’; ‘Fuck you you stupid cunt’; ‘I'm glad your mother

                          is rotting in hell’; ‘No believe me that bitch is in hell’, all the while

                          demonstrating extreme aggressive caused by Plaintiff Davis asking

                          Defendant Dougherty to apologize after the first rude remark.”

                 xxxiv. “Defendant Dougherty blamed Plaintiff Davis for not being able to

                          afford food for him, announcing their official break up and that he

                          would be ‘starving for the next 2 days’ if she did not purchase him

                          sushi. After supposedly breaking up with her, Defendant Dougherty

                          proceeded to ignore all of Plaintiff Davis’ worried texts until she

                          told him when she would pick him up from jail, stating further that

                          he ‘hated her’ and that she ‘would never see [him] again’.”

                  xxxv. “April '23: Defendant Dougherty completely ignored Plaintiff

                          Davis' text message that describe how much she was hurting over

                          their broken marriage plans and relationship.”

                 xxxvi. “May '23: Defendant Dougherty told Plaintiff Davis that he "Can't

                          take it right now ... I'm going to take a gun to my fucking head don't

                          you understand that you fucking idiot" after Plaintiff Davis stated

                          that it hurt her that Defendant Dougherty hung up on her when she

                          was crying and needed 5 minutes of kindness.”




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                 xxxvii. “Defendant Dougherty had multiple affairs with women while in a

                          relationship with Plaintiff Davis, planning a wedding, and all the

                          while reporting these instances to her.”

                xxxviii. “Plaintiff Davis found out that Defendant Dougherty cheated on her

                          by receiving a positive HPV test during her annual checkup. When

                          confronted with this, Defendant Dougherty told Plaintiff Davis:

                          ‘Aren't you worried cause I am going to get throat cancer?’ ”

               d. “Defendant Dougherty's actions were both the actual and proximate cause

                  of Plaintiffs injury.”

               e. “Plaintiff Davis was diagnosed with PTSD following Defendant

                  Dougherty's negligent conduct toward Plaintiff Davis.”

               f. “Defendant Dougherty should have realized that his conduct involved an

                  unreasonable risk of causing emotional distress.”

               g. “Defendant Dougherty's actions created an unreasonable risk of causing

                  emotional distress and that the distress was medically diagnosable and

                  significant.”

               h. “Plaintiff Davis was in the zone of danger and was placed in reasonable fear

                  of physical injury due to Defendant Dougherty's actions.”

               i. “Plaintiff Davis suffered severe emotional distress and mental injury that is

                  medically diagnosable and of sufficient severity to be medically sufficient.”

               j. “Plaintiff Davis suffered additional loss of wages, medical bills, and pain

                  and suffering damages.”

                            THE INSURANCE POLICIES


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       26.    State Farm issued a Condominium Unitowners Policy naming Sean Patrick

Dougherty as the Named Insured, Policy Number 25-L9-6846-2, with effective dates of March 9,

2021 through March 9, 2022 (the “Policy”).

       27.    The Policy was renewed twice, with effective dates March 9, 2022 through March

9, 2023, and March 9, 2023 through March 9, 2024. Certified copies of the Policy for each of the

Policy periods 2021-2022, 2022-2023, and 2023-2024 are attached hereto as Exhibit B and

incorporated by reference herein.

       28.    The Policy contains personal liability coverage with a limit of $300,000 per

occurrence.

       29.    Prior to the Policy, State Farm previously issued a separate Condominium

Unitowners Policy to Mr. Dougherty as the Named Insured, Policy No. 25-C8-D171-5, with

effective dates of December 6, 2019 through December 6, 2020 (the “2019-2020 Policy”).

       30.    The 2019-2020 Policy was cancelled effective June 29, 2020.

       31.    A certified copy of the 2019-2020 Policy is attached hereto as Exhibit C and

incorporated by reference herein.

       32.    The 2019-2020 Policy also contains personal liability coverage with a limit of

$300,000 per occurrence.

       33.    Both the Policies contain the following relevant provisions:

                                            DEFINITIONS
                                                  ***
       3.     “bodily injury” means physical injury, sickness, or disease to a person. This
              includes required care, loss of services, and death resulting therefrom.

              Bodily injury does not include:
              a. any of the following which are communicable: disease, bacteria, parasite,
                 virus, or other organism, any of which are transmitted by any insured to any
                 other person;


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             b. the actual or alleged exposure to any such disease, bacteria, parasite, virus, or
                other organism by any insured to any other person; or
             c. emotional distress, mental anguish, humiliation, mental distress, mental
                injury, or any similar injury unless it arises out of actual physical injury to
                some person.
                                                 ***
      11.    “insured” means:
             a.     you;
             b.     your relatives; and
             c.     any other person under the age of 21 in the care of a person described
                    above.

             Under Section II, insured also means:
             d.     the person or organization legally responsible for animals or watercraft to
                    which this policy applies. However, the animal or watercraft must be
                    owned by you or a person included in 11.b or 11.c. above. A person or
                    organization using or having custody of these animals or watercraft in the
                    course of a business, or without permission of the owner, is not an
                    insured; and
             e.     with respect to any vehicle to which this policy applies, any person while
                    engaged in your employment or the employment of a person included in
                    11.b or 11.c. above.
                                                  ***
      16.    “property damage” means physical damage to or destruction of tangible
             property, including loss of use of this property. Theft or conversion of property by
             any insured is not property damage.
                                                  ***

                            SECTION II – LIABILITY COVERAGES

      COVERAGE L – PERSONAL LIABILITY
      If a claim is made or a suit is brought against an insured for damages because of bodily
      injury or property damage to which this coverage applies, caused by an occurrence,
      we will:
      1.       pay up to our limit of liability for the damages for which the insured is legally
               liable. We will not pay for criminal restitution; and
      2.       provide a defense at our expense by counsel of our choice….

                                 SECTION II – EXCLUSIONS
      1.     Coverage L and Coverage M do not apply to:
             a.    bodily injury or property damage that:
                   (1)    was a result of a:
                          (a)     willful and malicious; or
                          (b)     criminal;
                          act or omission of the insured;
                   (2)    was intended by the insured; or


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                     (3)     would have been expected by the insured based on a reasonable
                             person standard.
                     However, exclusions a.(2) and a.(3) above do not apply to bodily injury
                     or property damage resulting from the use of reasonable force to protect
                     persons or property.
                     Exclusions a.(1), a.(2), and a.(3) above apply to all bodily injury or
                     property damage even if the:
                     (1)     bodily injury or property damage was sustained by a different
                             person, entity, or property than was expected or intended;
                     (2)     bodily injury or property damage was of a different kind,
                             quality, or degree than was expected or intended;
                     (3)     insured lacked the mental capacity to control his or her conduct;
                     (4)     insured was not charged with or convicted of a criminal act or
                             omission; or
                     (5)     insured was impaired by drugs or alcohol;
                                                  ***
             n.      bodily injury or property damage arising out of any actual, alleged, or
                     threatened:
                     (1)     sexual harassment, sexual molestation, or sexual misconduct;
                     (2)     physical or mental abuse; or
                     (3)     corporal punishment;
                     by the insured;

                                             ***

      CONDOMINIUM UNITOWNERS AMENDATORY ENDORSEMENT (Missouri)

                                             ***

      The definition of “occurrence” is replaced by the following:
      “occurrence”, when used in Section II of this policy, means an accident, including
      accidental exposure to conditions, which first results in:

      a.     bodily injury; or
      b.     property damage;

      during the policy period. All bodily injury and property damage resulting from one
      accident, series of related accidents, or from continuous or repeated exposure to the same
      general conditions is considered to be one occurrence.

                                             ***


                    GROUNDS FOR DECLARATORY JUDGMENT




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       28.     No coverage exists under the Policies for any of the allegations contained in the

claims against Defendant Dougherty in the Underlying Petition.

                                    I.      No “Occurrence”

                     No “Occurrence” based on Timing of Alleged Injuries

       29.     The Policies provide that to be an “occurrence”, an accident must “first result[]” in

bodily injury or property damage “during the policy period”.

       30.     Furthermore, the Policies provide that all injuries “resulting from one accident,

series of related accidents, or from continuous and repeated exposure to the same general

conditions is considered to be one occurrence.”

       31.     The effective policy period for the 2019-2020 Policy was from December 6, 2019

to June 29, 2020.

       32.     The effective policy period for the Policy was March 9, 2021 to March 9, 2024.

       33.     All of the injuries alleged in the Underlying Petition—to the extent they allege any

“accident” at all—arise out of one “series of related accidents” or “continuous and repeated

exposure to the same general conditions” that already allegedly resulted in injury to Plaintiff long

before any effective policy period began in 2019. This is because the Underlying Petition alleges

damages resulting from “a pattern of romance fraud” that “start[ed] around the end of 2015 and

continu[ed] until May 2023.” (Ex. A at ¶ 4).

       34.     The Underlying Petition alleges that this “pattern of romance fraud” was carried on

through “Dougherty’s fraudulent misrepresents [sic] and violent coercion”. (Id.)

       35.     The first alleged injuries from these types of actions purportedly occurred no later

than 2016, since the Underlying Petition alleges that Dougherty first convinced Davis to give him




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money in March 2016 (Id. at ¶ 10), and that he allegedly “became for the first time violent with”

Davis in June 2016 to convince her to drive him while his license was revoked (Id. at ¶ 11).

       36.      Thus, to the extent the Petition could otherwise allege the elements of an

“occurrence”, the entire Petition alleges one occurrence which first resulted in injury no later than

2016, long before the first policy period began in 2019. Therefore, the injuries alleged in the

Underlying Petition do not meet the Policies’ definition of an “occurrence”, which must “first

result” in injury during the policy period.

       37.      Alternatively, even if the allegations in the Underlying Petition were viewed

separately rather than as one “occurrence”, the incidents in the Underlying Petition that allegedly

occurred from 2015 to December 6, 2019, and from June 30, 2020 to December 5, 2021, occurred

outside any effective policy period and thus there is no coverage for those allegations.

       38.      Specifically, the allegations in the following paragraphs of the Underlying Petition

assert injuries occurring outside the effective policy periods:

             a. Paragraphs 4-24 (alleging incidents from 2015 through April 2019);

             b. Paragraphs 31-32 (alleging incidents in fall of 2020 and September 2020);

             c. Paragraphs 40-46 of the Underlying Petition (alleging incidents in July and August
                2020);

             d. Paragraph 50 (alleging incidents beginning “around January of ‘21”);

             e. Subparagraphs a., b., c., d., and e., of Paragraph 88 within Counts 3-10 (alleging
                incidents from December 2018 through August 2020);

             f. Subparagraphs a., b., c., d., e., f., and h. of Paragraph 94 within Count 11 (alleging
                incidents from June 2016 through October 2019, and in August 2020).

These allegations do not allege an occurrence because, even if they allegedly resulted in bodily

injury or property damage, any such alleged injury occurred before the policy period. Thus, they

do not allege an occurrence within the meaning of the Policies.


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No “Accident” resulting in “Bodily Injury or Property Damage”

       39.     The Policies provide coverage for claims against an insured for “damages because

of bodily injury or property damage … caused by an occurrence.” An “occurrence” is defined as

“an accident” that results in “bodily injury” or “property damage”.

       40.     “Property damage” includes only “physical damage to or destruction of tangible

property”, not theft or conversion of property by any insured. “Bodily injury” is defined as

“physical injury, sickness, or disease” but does not include emotional distress or similar mental

injury unless it “arises out of actual physical injury to some person”.

       41.     There is no coverage for any of the claims in the Underlying Petition because none

of them assert claims for “bodily injury” or “property damage” resulting from an “accident”.

       42.     Count 1 of the Underlying Petition does not allege an occurrence because it does

not allege an “accident”. Count I alleges that Mr. Dougherty retained hundreds of thousands of

dollars of money received from Plaintiff, causing her emotional distress, and that he “intentionally

hurt Plaintiff ” by unjustly retaining the funds. Because this Count alleges intentional behavior

rather than an “accident”, it does not allege an occurrence.

       43.     Additionally, Count 1 fails to allege an occurrence because it does not allege bodily

injury or property damage. It does not allege property damage because it asserts only monetary

loss due to Dougherty’s alleged non-repayment to Davis, rather than “physical damage to or

destruction of tangible property”. Likewise, it does not allege bodily injury because it alleges only

emotional distress arising out of the monetary loss but not arising out of physical injury to any

person. Thus, there is no coverage for Count 1.




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       44.     Count 2 of the Underlying Petition does not allege an occurrence because it does

not allege an “accident”. Count II alleges that Dougherty made representations and promises to

Plaintiff, that he “intended that Davis rely on” those promises, and that he “intended to harm

Plaintiff” by means of those false promises. Because this Count alleges intentional behavior rather

than an “accident”, it does not allege an occurrence.

       45.     Additionally, Count 2 fails to allege an occurrence because it does not allege bodily

injury or property damage. It does not allege property damage because it asserts only monetary

loss due to Dougherty’s alleged non-repayment to Davis, rather than “physical damage to or

destruction of tangible property”. Likewise, it does not allege bodily injury because it alleges only

emotional distress arising out of the monetary loss but not arising out of physical injury to any

person. Thus, there is no coverage for Count 2.

       46.     Counts 3 through 10 of the Underlying Petition likewise fail to allege an

occurrence triggering coverage because they fail to allege an “accident”. These Counts assert

claims for “Assault and Battery” arising out of eight different alleged incidents where Davis claims

Mr. Dougherty physically harmed or threatened to harm her.

       47.     Davis alleges that all of the alleged incidents underlying Counts 3-10 were

“intended to harm” her.

       48.     Moreover, since these Counts assert claims for intentional torts of assault and

battery, intent is an essential element of these claims such that Davis can only recover damages

against Dougherty under these claims to the extent that Dougherty’s alleged actions were

intentional.




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        49.     Thus, because these Counts necessarily involve allegations of intentional actions,

they do not allege an “accident” and therefore do not allege an “occurrence.” Accordingly, there

is no coverage under the Policies for Counts 3 through 10 of the Underlying Petition.

        50.     Count 11 of the Underlying Petition, for Negligent Infliction of Emotional

Distress, fails to allege an occurrence because all the allegations on which it is based either did not

result in bodily injury or were not accidental.

        51.     First, many of the allegations in Count 11 did not result in “bodily injury” or

property damage (and the claim in Count 11, for Negligent Infliction of Emotional Distress does

not assert any damages for property damage).

        52.     To qualify as a “bodily injury” within the meaning of the Policies, emotional

distress must “arise[ ] out of actual physical injury to some person”.

        53.     The allegations contained in subparagraphs c., d., e., f., g., h., i., j., k., l., m., n., p.,

t., v., w., x., y., z., aa., bb., cc., dd., ee., ff., gg., hh., ii., jj., kk., and ll. of Paragraph 94 of the

Underlying Petition (i.e., all subparagraphs of Paragraph 94 except subparagraphs a., b., o., and

u.) do not allege emotional distress resulting from an “actual physical injury to some person”.

Instead, those subparagraphs allege rude, offensive, or disturbing behaviors—for example, that

Dougherty threatened to date or sleep with other women, verbally abused Plaintiff, forgot

Plaintiff’s birthday, convinced her to spend money on him, threatened to kill himself, suggested

that he and Plaintiff commit suicide together, openly shared violent fantasies of killing people, and

other similar allegations—but not “actual physical injury to some person”.

        54.     Because Davis’s alleged emotional distress based on the allegations listed above

did not arise out of actual physical injury to some person, those allegations do not allege an




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occurrence within the meaning of the Policy, regardless of whether they allege accidental behavior

by Dougherty.

       55.      Second, the only other allegations in Count 11 that might allege injury to Davis

arising out of actual physical injury to some person fail to allege an occurrence because they do

not allege an “accident”. Specifically:

             a. Subparagraph “a.” of Paragraph 94, alleging that Dougherty became “violent and

                aggressive” with Davis, to the extent it asserts a bodily injury from Dougherty

                allegedly “shoving” Davis, (Ex. A, at ¶ 11), alleges intentional behavior rather than

                an accident.

             b. Subparagraph “b.” of Paragraph 94, alleging that Dougherty related to Davis that

                he had a “violent boost [sic]” in an AT&T store and attacked a customer, to the

                extent it alleges emotional injury sustained by Davis, does not allege an accident,

                because the Underlying Petition asserts that Dougherty intentionally told this to

                Davis to produce a desired emotional reaction in her: “Dougherty used this and

                other incidents of violence to send a message to Davis that she had to comply with

                his demands, or else.” (Ex. A, ¶ 12). The same is true of Paragraph 37—which

                alleges that Dougherty told Davis about injuring a husband of another woman—to

                the extent Count 11 incorporates the allegation in that Paragraph.

             c. Subparagraph “o.” of Paragraph 94, alleging that Defendant caused Davis pain by

                “disregard[ing]” her physical condition during sexual intercourse and that he

                “would not let Davis free”, alleges intentional and knowing behavior rather than an

                accident resulting in unforeseen injuries from Dougherty’s standpoint;




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             d. Subparagraph “u.” of Paragraph 94, alleging that Dougherty “forced” Davis to

                watch videos of abuse toward other women, is not an allegation of an accidental or

                unforeseen event from the standpoint of Dougherty, since “forcing” another person

                to do something is an intentional act. Moreover, the Underlying Petition elsewhere

                alleges that Dougherty did this with a particular goal in mind: in order to “groom

                Davis to be complicit with his violence toward her.” (Ex. A, at ¶ 49). Thus, this is

                an allegation of intentional behavior, not an accident.

       56.      Thus, even the allegations that might involve a “bodily injury” in Count 11 are

allegations of intentional behavior, not the type of accidental behavior that would meet the

definition of an “occurrence” under the Policies.

       57.      Thus, because there are no allegations within Count 11 which allege an accident

resulting in bodily injury or property damage, there is no coverage for Count 11 under the Policies.

       58.      In short, none of the allegations in the Underlying Petition allege an occurrence,

because none of them allege an “accident” that first resulted in “bodily injury” or “property

damage” during the policy period. All of the allegations were allegedly part of a pattern of

romance fraud that began and allegedly resulted in injury before the Policy period. Furthermore,

Counts 1 and 2 fail to allege bodily injury or property damage. Counts 1–10 allege injuries arising

only from intentional behavior by Dougherty, not from an “accident”. And all of the allegations in

Count 11 either assert injuries that occurred before the Policy period, or fail to allege a bodily

injury, or allege intentional rather than accidental behavior. Thus, no occurrence is alleged, and

there is no coverage for any claims in the Underlying Petition under the Policies.

                          II.     Intended/Expected Injury Exclusion




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       59.     The Policies exclude coverage in Exclusion 1.a for injury that is a result of a “willful

and malicious” conduct by the insured, or which was intended by the insured, or which “would

have been expected by the insured based on a reasonable person standard”.

       60.     As discussed above, Counts 1–10 of the Underlying Petition are based entirely on

allegations of intentional behavior by Dougherty.

       61.     Furthermore, the element of intent is essential to those claims for intentional torts.

       62.     Therefore, to the extent Counts 1–10 of the Underlying Petition allege any

actionable injuries, such injuries would be “expected or intended” from the standpoint of

Dougherty. Therefore, these Counts are excluded from coverage under Exclusion 1.a.

       63.     Likewise, the only allegations in Count 11 that might involve some sort of bodily

injury during the Policy period—namely, subparagraph “a.”, “b.”, “o.”, and “u.” of Paragraph 94

of the Underlying Petition—allege intentional behavior by Dougherty, for the same reasons set out

above (See supra, ¶ 55). Thus, these allegations assert injuries that either were a result of “willful

and malicious” acts of Dougherty, or were “intended by” Defendant Dougherty, or would have

been expected by Dougherty based on a reasonable person standard. Therefore, these allegations

are excluded from coverage under Exclusion 1.a. of the Policy.

       64.     Thus, any “bodily injury” that might be alleged in Count 11 is also alleged to have

been a result of a willful and malicious act of the insured, or intended by the insured, or expected

by the insured based on a reasonable person standard. Therefore all such alleged injuries are

excluded from coverage under Exclusion 1.a.

                          III.    Physical or Mental Abuse Exclusion




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        65.      The Policy also excludes coverage in Exclusion 1.n for injury arising from sexual

harassment or misconduct or “physical or mental abuse”. The term “mental abuse” is not further

defined in the Policy.

        66.      All the allegations in Plaintiff’s Amended Petition, including the allegations in

Count 11 that appear to be based on some bodily injury and have occurred during the Policy period,

allegedly occurred as part of an overall scheme that was designed to emotionally manipulate and

“control” Plaintiff.

        67.      Indeed, the Underlying Petition alleges that all of Davis’s injuries were caused by

Dougherty’s “a pattern of romance fraud” and refers to Dougherty’s pattern of behavior as

“emotional abuse”. (Ex. A, at ¶¶ 4, 59). Thus, all the injuries alleged in the Underlying Petition

are injuries arising from “physical or mental abuse”.

        68.      All of the injuries alleged in each of the individual Counts 1 through 11 of the

Underlying Petition are injuries that allegedly arose from “physical or mental abuse” and are

therefore excluded from coverage under the Policies by Exclusion 1.n.

        69.      Of particular importance, among others, the allegations contained in or supporting

Count 11 that might be read as alleging a bodily injury—namely, subparagraph “a.”, “b.”, “o.”,

and “u.” of Paragraph 94 of the Underlying Petition—nevertheless allege injuries arising out of

physical or mental abuse, particularly but not solely in the following respects:

              a. Paragraph 94.b (alleging that Dougherty told Davis about attacking a customer in

                 an AT&T store), together with Paragraphs 37 and 12 (alleging that Dougherty told

                 Davis about beating up another woman’s husband and that he would tell Davis

                 about incidents of violence such as the AT&T store incident in order to “send a

                 message… to comply with his demands, or else”);



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           b. Paragraph 94.o., which alleges that Dougherty caused Davis “excruciating pain”

               during sexual intercourse by disregarding her physical condition;

           c. Paragraph 94.u. and 49, alleging Dougherty forced Davis to watch videos of abuse

               to other women to “groom[] Davis to be complicit with his violence toward her”.

Because these Paragraphs allege injuries arising from “physical or mental abuse”, these allegations

are therefore excluded from coverage under Exclusion 1.n. of the Policies.

       WHEREFORE, Plaintiff State Farm Fire and Casualty Company prays that this Court

declare the rights of the parties under the aforementioned Policy of insurance and enter judgment

finding and declaring:

               a.        That the provisions of the Policy provide no coverage whatsoever for the

       Underlying Claims against Defendant Sean Patrick Dougherty;

               b.        That State Farm has no duty to defend Defendant Sean Patrick Dougherty

       in any legal proceedings related to the Underlying Claims;

               c.        That State Farm has no duty to indemnify Defendant Sean Patrick

       Dougherty for any portion of any expense or liability that he has incurred or may incur in

       any legal proceeding related to the Underlying or any future settlement, judgment, or civil

       penalties that may be entered against Defendant Sean Patrick Dougherty, in any other

       action against Defendant Sean Patrick Dougherty arising out of the conduct described in

       the Underlying Claims;

               d.        That State Farm has no duty to satisfy any judgment that may be entered

       against Defendant Sean Patrick Dougherty in favor of Defendant Amber Davis, either in

       the Underlying Action or arising out of the conduct described in the Underlying Claims

       against Defendant Dougherty;

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             e.     That State Farm is entitled to its costs, including attorney fees; and

             f.     That State Farm is entitled to any such further relief this Court deems just

      and proper under the circumstances.

                                            Respectfully submitted,

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